                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION
                               )
UNITED STATES OF AMERICA        )
                               )        15 CR 485-9
         v.                     )
                                )       Hon. Virginia M. Kendall
JOSE MIRELES, JR.               )
                                )

              GOVERNMENT’S SENTENCING MEMORANDUM

      The United States of America, by and through its attorney, JOHN R. LAUSCH,

JR., United States Attorney for the Northern District of Illinois, hereby respectfully

submits the Government’s Sentencing Memorandum, and asks this Court to sentence

the defendant to 342 months’ imprisonment and a 5-year term of supervised release,

as recommended by the Probation Officer.

I.    Background

      For approximately two years, defendant participated in a massive drug

distribution and money laundering conspiracy led by Edgar Roque. During his

participation in the conspiracy, defendant regularly traveled to Chicago to receive

narcotics-laden Amtrak Express packages that Roque and his other workers shipped

from Los Angeles, distribute the narcotics to Chicago-based customers, and collect

and launder the drug proceeds. Defendant is personally responsible for the

distribution of hundreds of kilograms of cocaine and dozens of kilograms of heroin,

and the collection and/or laundering of millions of dollars in cash proceeds.

      Defendant was on of Edgar Roque’s most trusted workers. In October 2014,
Roque brought defendant to Mexico to meet with Roque’s Sinaloa Cartel suppliers.

During the trip, defendant witnessed the vicious beating and kidnapping of a fellow

co-conspirator by a cartel leader and his gunmen. Undeterred, defendant returned to

Chicago just days later to continue his involvement in the conspiracy, which included

attempting to facilitate the receipt of a 10-kilogram heroin shipment on November 6,

2014 which was ultimately seized by law enforcement.

      Defendant’s role in the conspiracy was not limited to moving massive

quantities of drugs and drug money. In June 2015, defendant attempted to obtain six

Glock-19 firearms for Edgar Roque. The associated wire intercepts indicate that this

incident was not defendant’s first time obtaining/attempting to obtain firearms. See

G.V. Attachment 2, 5: “Yo . . . Ur boy can still get toys?”).

      After defendant was arrested at his home in October 2016, he escaped custody

while being transported to the federal building in Los Angeles. During his escape,

defendant ran across multiple lanes of traffic on a busy expressway and later stole a

vehicle from an innocent bystander and drove it at a high rate of speed directly toward

DEA Special Agent Nina Goteva, who was frightened for her life. See Ex. A (Agent

Goteva’s trial testimony regarding defendant’s escape), 34-35. Defendant swerved the

vehicle out of Agent Goteva’s path at the last minute, as Agent Goteva was forced to

open fire on defendant to protect herself and the public from the extraordinarily

dangerous situation defendant created. Defendant managed to successfully flee the

scene and remained a fugitive for over 15 months.




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II.   The Government’s Position on Sentencing

      The district court must properly calculate the guidelines range, treat the

guidelines as advisory, consider the § 3553(a) factors, and adequately explain the

chosen sentence, including an explanation for any variance from the guidelines range.

See Gall v. United States, 552 U.S. 38, 49-50 (2007). The sentence imposed must be

“sufficient, but not greater than necessary,” to comply with the purposes of sentencing

provided under 18 U.S.C. § 3553(a)(2).

      A. The PSR

      The government has no factual objections to the PSR and agrees with the

Probation Officer’s guidelines calculation. Defendant is a total offense level of 40 and

a criminal history category II, leading to an advisory guidelines range of 324-405

months.

      With respect to drug quantity, the Government’s Version and the PSR’s

findings are based on the number of Amtrak Express packages sent during

defendant’s involvement in the conspiracy (late November 2013 to June 2015), which

was at least 44 packages, multiplied by 10 kilograms of cocaine, which Edgar Roque

testified at trial was the minimum quantity contained in each Amtrak Express

package. After reviewing this Court’s quantity analyses in prior sentencings in this

case, the government wishes to revise its approach to drug quantity (though the

revised approach yields the same result under the guidelines).

      Rather than calculating quantity based on all Amtrak Express packages

shipped during defendant’s involvement in the conspiracy, the government



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recommends the Court base its quantity findings on the number of Amtrak Express

packages received in Chicago during defendant’s involvement in the conspiracy while

defendant was in Chicago. This subgroup of packages was more obviously foreseeable

to defendant, as Roque testified at length at trial about how defendant regularly

assisted with collecting, transporting, and distributing the narcotics shipped to

Chicago during defendant’s approximately 10 trips there (regardless of whether the

packages were addressed to defendant), and that testimony was corroborated by

substantial independent evidence.

      The flight records introduced at trial (Government Exhibit 15), which were

corroborated in significant respects by Roque’s testimony, toll records, bank records,

and the Amtrak Express records that listed defendant as the recipient of packages at

Chicago’s Union Station, establish that defendant was in Chicago for purposes of the

conspiracy at the following times:

         •   Unknown arrival date (though trial evidence showed Mireles received a
             package at Chicago’s Union Station on November 25, 2013) to December
             10, 2013;

         •   January 28, 2014 to March 10, 2014;

         •   May 17, 2014 to May 19, 2014;

         •   October 28, 2014 to unknown departure date (through trial testimony
             showed Mireles was in Chicago through at least November 6, 2014);

         •   December 20, 2014 to December 22, 2014;

         •   February 9, 2015 to February 24, 2015;

         •   June 22, 2015 to July 1, 2015.

      Based on the government’s summary of Amtrak Express records, introduced

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at trial as Exhibit 3, a total of 13 packages were received in Chicago during these

time periods. These 13 packages included the November 6, 2014 package, which, as

proved at trial, was seized by law enforcement and found to contain 10 kilograms of

heroin. If 10 kilograms of cocaine are ascribed to the other 12 packages received in

Chicago while defendant was there, the drug quantity calculation looks as follows:

           •   12 packages x 10 kilograms of cocaine = 120 kilos of cocaine = 24,000

               kilograms of converted drug weight.

           •   1 package x 10 kilos of heroin = 10 kilos of heroin = 10,000 kilograms

               of converted drug weight.

           •   = 34,000 kilograms of converted drug weight = Base Offense Level of

               36.

      The above estimate is still highly conservative. For example, it does not include

the approximately 10 kilograms of cocaine that defendant helped to hide and later

distribute to Donald Williams during his June 2015 trip to Chicago (which cocaine

Ivan Diaz received at Union Station on June 20, 2015). It also does not include any

heroin other than the heroin seized on November 6, 2015.

      With respect to Probation Officer’s application of the 2-level § 3C1.2

obstruction adjustment for recklessly creating a substantial risk of death or serious

bodily injury to another person in the course of fleeing from a law enforcement officer,

Agent Goteva’s trial testimony regarding defendant’s escape is a plainly sufficient

basis for the adjustment, particularly the portion regarding defendant’s stealing a

white pickup truck and driving it directly at Agent Goteva at a high rate of speed



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such that Agent Goteva felt “fear” as the vehicle got “close” to hitting her. Ex. A, 34-

35. See, e.g., See United States v. White, 903 F.2d 457, 459-60 (7th Cir. 1990) (flight

coupled with “almost mortal” circumstances triggers the 3C1.2 adjustment).

      As the Court knows, although the parties agreed to keep this testimony out at

trial, Agent Goteva was forced to open fire on the defendant in an effort to neutralize

the threat he posed to Agent Goteva and the public. Ex. A, 34-35. As the Probation

Officer correctly noted, forcing Agent Goteva to open fire on him in a residential area

provides a separate basis for application of the adjustment. See, e.g., United States v.

Atwood, 761 Fed.Appx. 651, 653 (7th Cir. 2019) (adjustment applied because trooper

pulled his own firearm after seeing defendant was carrying a gun and “might have

opened fire . . . and hit a third party). Defendant’s jumping out of the police vehicle

on a busy highway and running across multiple lanes of traffic during morning rush

hour also separately triggers the adjustment. See Ex. A, 22-25); Atwood, 761

Fed.Appx. at 653-54. (“Drivers might have swerved to avoid [the defendant] and hit

barriers, other cars, or a pursuing trooper . . [A]lthough fleeing on foot through an

open space might not create the requisite substantial risk of injury, [the defendant]

ran across the expressway”); see also United States v. Reyes-Oseguera, 106 F.3d 1481,

1483-84 (9th Cir. 1997) (running on foot across multiple lanes of traffic justifies the §

3C1.2 adjustment).

      In short, there can be no serious argument that the § 3C1.2 adjustment does

not apply. In fact, although the government is not requesting it, the Court would be

on firm ground in applying a greater than two-level adjustment based on defendant’s



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escape given that his mens rea during the escape plainly exceeded recklessness and

rose to purposefulness. See Guideline § 3C1.2 cmt n. 2. (“Where a higher degree [than

recklessness] of culpability was involved, an upward departure above the 2-level

increase provided in this section may be warranted).

      B. The 3553(a) Factors

      Nature and Circumstances of the Offense

      The seriousness of defendant’s crimes cannot be overstated. The full extent of

the human misery caused by the thousands of kilograms of poisonous narcotics that

defendant and his cohorts pumped into our community is incalculable. At sentencing,

the Court will not hear from the likely thousands of addicts who ingested this poison,

or their family members and friends who suffer quietly, or the community members

who are forced to cope with the gun violence and general social decay that inevitably

accompanies the narcotics trade. But the victims are out there, and their interests

must be vindicated at sentencing.

      Defendant’s escape from custody and his 15-month fugitive status gives rise to

an unusually compelling interest in punishment and promoting respect for the law.

These interests, as well as the need for individual deterrence and incapacitation, are

further underscored by the continuous, repeat nature of defendant’s criminal activity

(nearly two years of unbroken narcotics trafficking activity and approximately 10

separate trips to Chicago). Defendant’s willingness to assist Edgar Roque with

arming himself and Roque’s narcotics trafficking associates also highlights

defendant’s disregard for public safety, which heightens the incapacitation interest.



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       General deterrence is also a salient concern. U.S.-based wholesale narcotics

trafficking organizations such as the Edgar Roque DTO serve as an essential bridge

between the Mexican drug cartels and the street-level dealers who sell to the ultimate

consumers. Knocking out that wholesale supplier bridge arguably represents law

enforcement’s best chance at meaningfully disrupting the global narcotics trade, as

there are relatively few such organizations (compared to the number of street-level

distributors) and they are easier to reach than their suppliers in Mexico. Any U.S.-

based person who is considering partnering with the cartels to move their products

from Mexico to the streets of this country must know that they will face the severest

of consequences. With this sentencing, the Court has a meaningful opportunity to

broadcast that message.

       History and Characteristics of the Defendant

       Roughly three years before joining the Edgar Roque DTO, defendant was

convicted of burglary and false imprisonment with violence and sentenced to two

years’ custody. Defendant’s history of violence, and his return to extraordinarily

serious criminal conduct shortly after his release from a custodial sentence, further

amplify the need for individual deterrence and incapacitation. See, e.g., United States

v. Walker, 98 F.3d 944, 947 (7th Cir. 1996) (“When a defendant responds to lenient

treatment by committing crime as soon as he is released, the implication is that a

severe sentence is necessary to prevent him from continuing to engage in criminal

activity).”

       Defendant’s history is devoid of facts that provide mitigating context to his



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crimes. Defendant grew up in a stable, one-parent household in which he never

wanted for necessities. PSR, ¶ 54. Defendant did not suffer any form of abuse as a

child. Id. None of defendant’s family members abused substances or were involved in

the criminal justice system. Id. Defendant appears to have begun abusing marijuana

as a teenager and was expelled from high school in the 10th Grade. Id. at ¶¶ 64, 67.

Defendant did not complete high school and does not have a GED. Id. at 67.

Defendant has no verified prior employment but claims to have worked in

construction as an autobody mechanic prior to his arrest. Id. at ¶¶ 71-72.

      Need to Avoid Unwarranted Sentencing Disparities

      Pursuant to 18 U.S.C. § 3553(a)(6), the Court must avoid unwarranted

sentencing disparities with similarly situated defendants. Based on his involvement

in the conspiracy alone, defendant’s culpability is comparable to Gerardo Sanchez

(210 months), Omar Ramirez (188 months), and Steven Mendoza (150 months). Like

defendant, Sanchez, Ramirez, and Mendoza were among Roque’s most active workers

who regularly traveled from LA to Chicago for purposes of furthering the conspiracy.

Also, like defendant, Sanchez, Ramirez, and Mendoza were involved in the conspiracy

for well over one year but did not have supervisory roles. However, defendant’s escape

from custody, his 15-month fugitive status, and his failure to accept responsibility for

his crimes place defendant at a categorically higher level of culpability than these

otherwise similarly situated defendants.

      This difference in culpability is most directly reflected in the advisory guideline

ranges. As explained above, defendant has a total offense level of 40 and a criminal



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history category of II (324-405 months). By contrast, Sanchez was a total offense level

of 35 and a criminal history category III (210-262 months), R. 508, 18; Ramirez was

a total offense level of 35 and a criminal history category II (235-293 months), R. 678,

28; and Mendoza was a total offense level of 33 and a criminal history category of I

(135-168 months), R. 679, 29.

      Thus, a 342-month sentence would not lead to an unwarranted disparity with

Sanchez, Ramirez, or Mendoza. Nor would it lead to an unwarranted disparity with

Phillip Diaz (250 months) or Richard Roque (210 months), both of whom were more

deeply involved in the conspiracy than defendant (Phillip Diaz and Richard Roque

effectively served as Edgar Roque’s deputies, and were involved in the conspiracy for

substantially longer than defendant). From the government’s standpoint, defendant’s

escape from custody—particularly the threat he created to Agent Goteva’s

life/physical safety—and his 15-month long status as a fugitive is sufficiently serious

to substantially more than offset any differences in culpability between defendant,

Phillip Diaz, and Richard Roque with respect to the underlying drug conspiracy.

Again, the guidelines support the government’s position—Richard Roque had a total

offense level 37 and a criminal history category of I (235 to 293 months), and Phillip

Diaz had a total offense level of 39 and a criminal history category of II (292 to 365

months). See R. 676, 5; R. 591, 32.

      Additionally, prior to the instant offense, none of the above listed defendants

had prior adult felony convictions, whereas defendant had two adult felony

convictions (arising from the same incident), one of which was for a crime of violence.



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      Based on the above, it is appropriate for defendant to receive a sentence that

is between Edgar Roque (who was sentenced 420 months), the leader of the

conspiracy and most culpable defendant, and the next most-culpable tier of

defendants, Phillip Diaz and Richard Roque (who were sentenced to 250 and 210

months, respectively). 342 months, which falls in the lower middle section of

defendant’s advisory guidelines range, is a sufficient but not greater than necessary

point at which to land, particularly considering that defendant acted purposefully

during his escape (and thus could have been subject to a larger than 2-level

adjustment under § 3C1.2), and that the guidelines do not account for: (1) defendant’s

money laundering activity; and (2) defendant’s efforts to purchase 6 Glock firearms

for Roque and his drug suppliers.

      C. Supervised Release

      The government agrees with the Probation Officer’s recommendation of a 5-

year term of supervised release (the statutory mandatory minimum) with all

recommended mandatory, discretionary, and special conditions. Each of the

recommended conditions is justified by the 3553(a) factors (including defendant’s

history of recidivism and substance abuse) and are necessary to facilitate effective

supervision and defendant’s reentry into society after a lengthy custodial term.




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   III.   Conclusion

      For the reasons set out above, the government respectfully asks this Court to

impose a sentence of 342 months’ imprisonment and a 5-year period of supervised

release with all conditions recommended in the PSR.



                                      Respectfully Submitted,

                                      JOHN R. LAUSCH, JR.
                                      United States Attorney

                               By:    /s/ Sean J.B. Franzblau
                                      Sean J.B. Franzblau
                                      Assistant United States Attorney




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